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July 23, 2019                                                                         Alan E. Schoenfeld
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Honorable Lorna G. Schofield
United States District Court
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

          Re:      John Doe #1 et al. v. The College Board, No. 19-cv-6660 (LGS)

Dear Judge Schofield,

This firm represents the College Board in the above-referenced matter. I write in response to
Plaintiffs’ letter dated July 22, 2019. ECF No. 8. In the Court’s Order dated July 18, 2019, ECF
No. 7, the Court requested that Plaintiffs file a letter stating whether they “consent to
arbitration.” The Order also stated that “[i]n the event they do not consent, Plaintiffs shall
propose a briefing schedule (preferably on consent)” and that “[i]n the event the parties cannot
agree on a schedule, Plaintiffs shall report the parties’ respective proposed dates.” Id.

Although Plaintiffs’ letter indicates that they do not consent to arbitration, Plaintiffs did not
include a suggested briefing schedule. Nor did the letter communicate the College Board’s
proposed schedule, which I offered to Plaintiffs yesterday (July 22). Plaintiffs did not respond to
the College Board’s proposal before filing their letter.

The College Board respectfully requests that the Court so-order the following proposed schedule:

      x     August 21, 2019 – The College Board files its opening arbitration motion;
      x     September 11, 2019 – Plaintiffs file their opposition; and
      x     September 25, 2019 – The College Board files its reply.

We are, of course, available to discuss this or any other matter.

Respectfully submitted,                           Defendant's motion to compel arbitration shall be filed by
                                                  August 21, 2019. By September 11, 2019, Plaintiffs shall file
                                                  their Opposition. By September 25, 2019, Defendant shall file its
                                                  Reply. The Parties shall otherwise comply with the Court's
/s/ Alan E. Schoenfeld                            Individual Rules. SO ORDERED.
Alan E. Schoenfeld                                Dated: July 23, 2019
                                                          New York, New York
cc:         All counsel of record (via ECF)
